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  9
 10                      UNITED STATES DISTRICT COURT
 11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPRC
    INC., a California Corporation,
 14                                            DECLARATION OF DEBORAH
                 Plaintiff,                    YOUNG IN SUPPORT OF
 15                                            SUPPLEMENTAL BRIEF OF
          v.                                   INTERFOCUS INC. D.B.A.
 16                                            WWW.PATPAT.COM IN
    INTERFOCUS, INC. d.b.a.                    FURTHER SUPPORT OF :
 17 www.patpat.com, a Delaware
    Corporation; CAN WANG, and                  1) MOTION FOR SUMMARY
 18 individual, and DOES 1-10, inclusive.,         JUDGMENT AND PARTIAL
                                                   SUMMARY JUDGMENT ON
 19              Defendants.                       PLAINTIFF’S COMPLAINT
                                                   AND DEFENDANT’S
 20                                                COUNTERCLAIM; AND
    INTERFOCUS, INC. d.b.a.
 21 www.patpat.com, a Delaware                  2) OPPOSITION TO PLAINTIFF’S
    Corporation; CAN WANG, an                      MOTION FOR SUMMARY
 22 individual, and DOES 1-10, inclusive,          JUDGMENT
                 Counterclaim Plaintiffs,       Continued
 23                                             Hearing Date: December 20, 2021
 24        v.                                   Time:             10:00 am
                                                Courtroom:        8D
 25 NEMAN BROTHERS & ASSOC.,
    INC., a California Corporation,            The Hon. Christina A. Snyder
 26
                 Counterclaim Defendant.
 27
 28

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  1                      DECLARATION OF DEBORAH YOUNG
  2         I, Deborah Young, declare:
  3         1.     I have been retained as a textile expert on behalf of Defendant
  4 InterFocus, Inc. (“InterFocus”) in this action, and I am preparing a report that will
  5 be served on December 17, 2021. I also have been asked to summarize my views on
  6 the potential similarities and differences between the fabric designs in certain
  7 garments InterFocus is alleged to have sold in this action, and certain fabric designs
  8 in which, I am informed and believe, Plaintiff Neman Brothers & Associates, Inc.
  9 claims copyright, based on my research to date, and I do so in this declaration.
 10         2.     I received a Master of Fine Arts in Fiber in 2001 from California State
 11 University at Long Beach. I also received a Bachelor of Fine Arts in Textile Design
 12 from California State University at Long Beach in 1996.
 13         3.     Since 1996, I have been teaching in the field of textile design and
 14 science at California State University at Long Beach, Otis College of Art and
 15 Design, the Fashion Institute of Design and Merchandising (FIDM), in Los Angeles,
 16 and California Polytechnic University, Pomona. I have been an instructor of Textile
 17 Science at the Fashion Institute of Design and Merchandising in Los Angeles since
 18 1998, and California State University, Pomona since 2014. I teach courses in textile
 19 science covering all aspects of textile production, identification, application, and
 20 verification, covering fiber through finishing. I also teach textile testing lab classes.
 21        4.     I teach a course on the history of worldwide textile design covering the
 22 last 5,000 years, and have done so since about 2001. This class is particularly
 23 relevant to this case because it focuses on contemporary design that finds its roots in
 24 historic trends in art and design history, along with regional, cultural and
 25 ethnographic elements and motifs. My extensive experience in preparing for and
 26 teaching this class has given me a unique perspective from which to view current
 27 fashion trends and design elements, and the function of textile designs. The course
 28 focuses on the repeating, cyclical nature of designs over the centuries, along with
                                               1
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  1 the inevitable cross-pollination of concepts, designs, and images from culture to
  2 culture, historical period to historical period and civilization to civilization. These
  3 elements of history continue to inform trends of today. In this class, I assist students
  4 in creating textile designs, inspired by historical periods and designers. I also have
  5 taught general art history courses, as well as a course specific to cross-cultural
  6 designs and motifs, called Icons of Culture.
  7         5.    I have authored two textile textbooks. The first is entitled “Swatch
  8 Reference Guide for Fashion Fabrics,” initially published in 2010, now in its 5th
  9 edition, and published by Bloomsbury Publications of New York and London. In
 10 2017, I authored “ Swatch Reference Guide for Interior Textiles,” distributed by the
 11 same publisher. Additionally, I wrote the testing lab manual used in FIDM’s labs for
 12 textiles and color management.
 13         6.    I hold membership in the Textile Society of America (TSA), and the
 14 American Association of Textile Chemists and Colorists (AATCC). I attend
 15 numerous seminars and textile shows, review current publications, and keep abreast
 16 of the industry at large. As an author of a contemporary textile textbook, I
 17 consistently research and analyze textile trends and act as textile buyer, interacting
 18 with many segments of the apparel industry for this endeavor.
 19         7.    As a result of my teaching and education experience, I have developed
 20 significant expertise in recognizing and analyzing the elements and styles of world
 21 textile designs over diverse historical periods from ancient to modern. This includes
 22 an overview of design and motif trends, and the repetitive, cyclical nature of many
 23 patterns in nature and in design. For these reasons, I have become a qualified textile
 24 expert.
 25         8.    I have reviewed the Complaint, exhibits to the Complaint, and the
 26 Amended Complaint and its exhibits that I understand were filed in this action. I
 27 was asked to review the Plaintiff’s designs for the purposes of identifying any
 28 design elements or motifs that could be found in materials available in the public
                                                 2
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  1 domain in prior art publications from before the copyright dates ranging from
  2 January 2017 to April 30, 2018 as identified in the copyright registrations attached
  3 to the Amended Complaint. I was also asked to comment on whether the designs
  4 are substantially similar to the protected works I understand are claimed by the
  5 Plaintiff, Neman Brothers.
  6            9.       The Plaintiff images, below, were found in the exhibits to the
  7 complaint. They are called subject Designs 1, 2 and 3 in the original and Amended
  8 Complaints, and are identified in the Complaint as Exhibits 1, 3 and 8. For the
  9 purposes of this report, they will be identified as Subject Designs 1, 2 and 3
 10 respectively, as they were in Plaintiff’s Complaint and Amended Complaint. 1
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 22        Subject Design 1, Complaint                           Subject Design 2, Complaint Exhibit 3
           Exhibit 1
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 26     I am informed and believe that Yoel Neman’s declaration in this action reversed the order of the above Designs,
      such that what is called Design 1 in the pleadings is called Design 2 in his declaration, and what is called Design 2 in
 27   the pleadings in called Design 1 in his declaration. I follow the Design number designations used in the pleadings in
      this declaration. To avoid any confusion, I am informed and believe that Mr. Neman stated that what Neman Brothers’
 28   pleadings identify as Designs 1, 2 and 3 were also designated as designs NB 170268, NB 161106, and NB 180228 in
      Neman Brothers’ business records.
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 11                        Subject Design 3
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 13        10.    Overall, these are quite common floral designs, which have been

 14 appropriated and repeated for centuries. They are simply expressions of existing
 15 flowers and are conventional expressions in the genre of florals. The genre is
 16 romantic, the contrast is dramatic, and the colors are informed by trend. These
 17 designs are evocative of actual flowers appearing as they do in nature, in clusters,
 18 with a few leaves for contrast. As such, these designs are not original concepts, they
 19 are simply reflections of nature with a finite number of possible variations in terms
 20 of execution. None of the Plaintiff’s designs appear significantly fresh, unique or
 21 original, in my opinion. Florals have been a favorite of textile designers since
 22 designs were first placed on fabric.
 23       11. Floral designs, in general, have been produced and reproduced until

 24 they have become part of the common vernacular or visual vocabulary that defines
 25 contemporary style across all textile and design mediums. For example, Subject
 26 Design 1 is unremarkable, derivative and typical of the style initially popularized
                                                   th
 27 during the late Baroque and Rococo periods (18 Century France), when flowers on
 28 a striped background proliferated. Today, these floral stripes are simply genre
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  1 designs, not particularly interesting or divergent from the other flowers currently
  2 and historically offered in the marketplace. In a search conducted in September, I
  3 found that Googleimages.com has 86,200,000 images of flowers on stripes.
  4         12.    A closer inspection of the designs at issue reveals that although the
  5 Plaintiff’s and Defendant’s designs share a concept and genre, they do not share the
  6 details of their designs. Plaintiff’s Design 1 is repeated below and the Defendant’s
  7 product (dress) is laid beside it for a direct comparison. The dress image is
  8 identified as Exhibit 2 in the Amended Complaint.
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               Subject Design 1              Amended Complaint Exhibit 2, Defendant’s Product
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 23         13.    I chose the largest and most visible cluster to detail for a comparative
 24 analysis – the four daisies with smaller clusters and a red flower. Even with the
 25 distortion of the image of the dress, it is quite evident that there are distinct
 26 differences. The centers of the daisies are different. Note the black in the
 27 Defendant’s red flower, absent in the Plaintiff’s. Also note the cluster of red flowers
 28 to the right of the main cluster, which is in an entirely different position between the
                                                 5
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  1 two designs. Further, the Plaintiff’s red cluster has eight flowers, the Defendant’s
  2 has nine with larger and lighter centers, and more detailed articulation, along with a
  3 different arrangement or composition. The Defendant’s design has a cluster of
  4 white flowers, completely absent in the Plaintiff’s design. The relationship of the
  5 surrounding flowers is also different. The red flower in the bottom right of the
  6 Plaintiff’s design is absent from the Defendant’s. The white bud at the bottom of the
  7 Plaintiff’s design is altogether missing from the Defendant’s.
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                  Plaintiff’s Design 1 detail           Defendant’s Design detail
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            14.     The flowers themselves are simple abstractions of actual flowers,
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      reminiscent of the simplistic florals of the 1960’s, although the Defendant’s design
 19
      has more sophistication and nuance. The point is that these are not minimally
 20
      creative, they are mere adaptations of nature. The five-petal flower with a yellow (or
 21
      black) center is also a common expression of flowers such as vinca, phlox, daylilies
 22
      or hibiscus. They are, in fact, quite generic. The concept and basic colorway may be
 23
      shared, (although differences are found here as well) but the execution and details
 24
      are not. What I understand to be called the “scenes-a-faire” doctrine excludes from
 25
      copyright protection such commonplace elements. As one court stated:
 26
 27            “Under the doctrine of “scenes-a-faire”, courts will not protect a

 28            copyrighted work from infringement if the expression embodied in the
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                   DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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  1            work necessarily flows from a commonplace idea; like merger, the
  2            rationale is that there should be no monopoly on the underlying
  3            unprotectable idea.”
  4            Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1082 (9th Cir. 2000)
  5         15.    Showing flowers on a striped background is also a common motif used
  6 by many designers. For example, Jean Paul Gaultier is a well-known French
  7 designer who has consistently taken advantage of the design concept of flower(s) on
  8 a striped background. The dress from that design house was sold at Sak’s Fifth
  9 Avenue in 2012.
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                                Dress by Jean Paul Gautier 2012
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 23         16.    It is evident that the concept of flowers on stripes are a common textile

 24 design. Examples that are true and correct copies of images from Bluefly.com and
 25 other retailers identified below during the 2015 sales season are shown below. They
 26 illustrate a general trend of flower(s) on stripes. Some are single flower clusters, and
 27 some are more consistent, allover designs. This does show a pattern of flowers on
 28 stripes as discovered at Bluefly, Chico’s and Dillard’s, but the design was also
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  1 prevalent at Bloomingdale’s, Zara, Max Mara, Juicy Couture, and Anthropologie in
  2 the past decade. The concept itself is ubiquitous in the fashion marketplace, not
  3 distinct or original, and has been used by many designers.
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 22      Bluefly.com Single                        Chico’s
 23      flower on stripes

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                     Dillard’s                               web selection
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 12        17.    Two such flowered stripes from 1965 are presented below. These
 13 designs illustrate a pattern of design history using stripes and flowers together. The
 14 individual flowers may vary, but the concept is widespread. Ultimately, they “read”
 15 alike, even if there are nuanced differences.
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 24              Stripes, by Tina Skinner, Schiffer Publications, 1998.
 25
 26        18.    Subject Design 2 is a classic floral cluster or bouquet on a dark
 27 background. The floral sprays are singles or small clusters of two or three flowers. A
 28 very common genre, they are, once again, simple reflections of nature. The
                                            9
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  1 image is repeated below for the court’s convenience. Next to it is royalty free
  2 artwork found on the web. This illustrates how common the concept has been.
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 14        19.    Floral Clusters of the same genre are presented below from across
 15 several periods. Once again, although the individual flowers and composition may
 16 vary, they still “read” alike to the consuming public. When looking for these
 17 romantic, baroque florals, consumers do not distinguish which flower design is used,
 18 or even the number of flowers in a design. It is a stylistic choice that they are
 19 making. A consumer is as likely to purchase the designs shown above and below as
 20 Subject Design 2.
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                 DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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                                                             Swatches: A Sourcebook of Patterns
 10   Album of China Textile Patterns. 1999
      Shaoxing Textile Science & Technology                  Dorsey Sitley Adler and Robert D. Adler.
 11   Center.                                                2005 The Textile Design Group, Inc.
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         Note the common rose motif on a black background . Swatches: A Sourcebook of Patterns with more than
 25      600 Fabric Designs. By Dorsey Sitley Adler and Robert D. Adler. © 2005 The Textile Design Group, Inc.
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  1        20.    It is my opinion that, given similar colorways, one design could be
  2 replaced with another within the genre, with no effect on the marketability or sales
  3 of the design or garment. The commonality in placement or composition of
  4 blossoms and even the execution and treatment of highlights is ubiquitous in this
  5 design genre, that is simply reflective of nature.
  6        21.    The following images are of the Defendant’s product. At first glance, it
  7 does appear that some of the floral representations are pretty close to the deposit
  8 materials for Design 2. The scale and the density of the two designs have a marked
  9 difference, however, along with the relationships and composition, ultimately
 10 rendering them somewhat similar but different designs within the genre.
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                                         Defendant’s
 23                                      Product
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                 DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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                              Subject Design 2
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 26        Defendant’s                           Subject Design 2-
           Product - front
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                 DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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  1         22.     In the images above, I identified a common flower cluster for
  2 comparison. Although still not a perfect overlap, there is a distinct similarity
  3 between these two clusters. However, a cursory examination of the remaining motifs
  4 and relationships confirms that the composition is not the same. In fact, I cannot
  5 draw another point of comparison between the flowers or arrangement. In this
  6 instance, there is a common “read” among the designs – initially, they appear
  7 similar. On closer inspection, it is quite clear that while the two designs share a
  8 style, genre and colorway, they are not the same designs, each quite distinct.
  9         23.     Subject Design 3 from the Amended Complaint is repeated below for
 10 comparison. The images below the Subject Design are Google images of the flowers
 11 that inspired the design, a Hibiscus and a Butterkin, both from Hawaii. These
 12 flowers, (actual and reproduced in print design) are part of a collection of floral
 13 designs used liberally in the resort market, as they suggest exotic places, warm
 14 climates, and vacation. The cool color palette used by the Plaintiff further supports
 15 this concept.
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 26      Subject Design 3                              Subject Design 3
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                  DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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                                                     Exhibit O - Hawaiian flower
          Exhibit N - Hibiscus Flower
  8                                                  Butterkin(Sida Fallax)
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 10         24.    In the images below, the front and back of Defendant’s garment is
 11 shown. The scale of the motifs in the Defendant’s product is larger. The Accused
 12 garment has less negative space than the Plaintiff’s, which means there is decreased
 13 space between. The execution and details of the floral expression also have some
 14 distinct differences. Regardless, the design could have been created as easily from
 15 the inspiration of the actual flowers or the designs below. As both Plaintiff and
 16 Defendant are using the same floral inspiration for the design, it does not follow that
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                                    Exhibit P – Defendant’s
 27                                 accused product from the
 28                                 Amended Complaint

                                                      15
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  1 one copied the other.
  2         25.      The images on the following page show a history of this genre of
  3 design, using the same flowers and same concepts- over the last one hundred and
  4 forty years. In fact, the text that those images were taken from, is a study collection
  5 of printed fabric designs.
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 18                                                         Exhibit R - France, 1880, Textile Designs; Two
                                                            Hundred Years of European and American Patterns
 19      Exhibit Q - France, 1880, Textile Designs; Two     for Printed Fabrics, Organized by Motif, Style,
         Hundred Years of European and American Patterns    Color, Layout, and Period. Meller & Ellfers,
 20      for Printed Fabrics, Organized by Motif, Style,    Abrams, New York, 1991
         Color, Layout, and Period. Meller & Ellfers,
 21      Abrams, New York, 1991

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                   DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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                                                         Exhibit T – Found on Christie’s web
 11           Exhibit S – Found on Christie’s
                                                         site. Tambute & Touret, 1938
              Auction web site. Jean Touret, 1935
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            26.      It is common business practice, both in the United States and China, for
 15
      designers to sell off their leftover goods when a collection is complete. These goods
 16
      are sold to wholesalers or jobbers, without regard to licensing or other limitations.
 17
      Bargains can be found as they are often cheaper, as they are “leftovers” and limited
 18
      in availability. In this way, it is entirely possible for a company to acquire goods
 19
      unaware of any protections under copyright law. In the declaration of Zijia Chen in
 20
      this matter, Ms. Chen states that she was readily able to purchase the same or similar
 21
      fabrics, without question or proof of licensing. Below is just one of many designs
 22
      found in China that shares the same genre and floral concept.
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 10                               Exhibit U and details, Shaoxing
                                  Zhongxing Textile Co. Ltd. A
 11                               fabric manufacturer in China
 12
            27.     The next image illustrates once again, the ubiquitous use of these
 13
      florals found in another vintage Jean-Paul Gautier dress. Although the composition
 14
      or placement of the flowers is different, the floral expression is the same.
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 25                Exhibit V - Vintage Gautier Dress,
 26                and detail, found on the Real-Real
                   site
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 28         28.    It is my opinion that some of the florals presented above are as
                                                        18
                  DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
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  1 similar to the Plaintiff’s Design as any other of the genre, including the
  2 Defendant’s Design. Exhibits N and O, certainly provide inspiration and context
  3 for the design.
  4         29.    After careful evaluation of all exhibits provided, it is my considered
  5 opinion that the Plaintiff’s designs are commonplace with thin copyright
  6 protection, as they do not provide anything new to the genre or design
  7 vernacular.
  8         30.    It is also my opinion that there are more differences than similarities
  9 in these floral designs. They do share the romantic floral genre and are evocative
 10 of thousands of like designs that have been produced for centuries. The
 11 Plaintiff’s Designs are not original concepts or designs. The Defendant’s
 12 Designs are not copies; they merely share the genre.
 13         31.    As the subject designs are currently on-trend, there are many
 14 variations -- and similarities -- in these designs across numerous designer labels;
 15 they have become part of a common, contemporary design vernacular. When
 16 romantic themes and flowers are prevalent and desirable, it is quite simple to
 17 realize and execute this concept. Often these are accomplished in Photoshop or
 18 Illustrator with a plethora of digital brushes, stencils and stamps which “paint” a
 19 pattern automatically with the click of a mouse. Today, many designers use these
 20 time-saving programs. These and other digital tools are readily available and
 21 accessible to designers. “Canned” designs such as these are quite commonplace.
 22 Moreover, they contribute little or nothing to design history or design
 23 vocabulary. Design schools are now spending more time on digital curriculum
 24 than drawing skills, as it is so much quicker to execute a design. Using these
 25 tools has become a requisite part of the tool kit of the designer and the design
 26 process. As such, it is entirely likely to find overlap in design expressions. A
 27 Google search for these tools returned 3,250,000 results in 0.43 seconds.
 28      32. After careful analysis and evaluation of the documents and images
                                                19
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  1 provided to me, it is my considered opinion that the subject designs are quite
  2 common and commercial within the current marketplace, and were simply
  3 appropriated from prior artwork that existed long before the copyright dates.
  4 These images offer a collection of genre designs found in today’s marketplace.
  5 They are quite common, easily accessible, and prolifically published. When
  6 producing prints, designers are challenged to align their work with current
  7 trends, inspired, at least in part, by runway shows and trend reports. These
  8 designs are reflections of the current trend. They do not seem innovative or
  9 distinctive within the marketplace today, in my opinion. Consumers respond to
 10 and purchase the genre or style; they do not necessarily select specific motifs in
 11 favor of others.
 12        I declare, under penalty of perjury under the laws of the United States that the
 13 foregoing is true and correct.
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 15
        Dated: 10-30-21
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 17                                            Deborah E. Young
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                 DECLARATION OF DEBORAH YOUNG IN SUPPORT OF SUPPLEMENTAL BRIEF
